 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF VIRGINIA

 JOHN DOE,
                                                              Civil Action No:
                                Plaintiff,

                         -against-

 WASHINGTON AND LEE UNIVERSITY,

                                Defendant.
                                                     X

                      DECLARATION OF KIMBERLY C. LAU, ESQ.
              IN SUPPORT OF PLAINTIFF’S MOTION TO PROCEED UNDER
                     PSEUDONYM AND FOR PROTECTIVE ORDER

         KIMBERLY C. LAU, ESQ. hereby declares subject to the penalties of perjury pursuant

 to 28 U.S. C. § 1746:

         1.      1 am admitted to practice in the courts of the State of New York and am a member

 of the Bar of the New York Courts. I am associated with the law firm of Nesenoff& Miltenberg,

 LLP, attorneys for the plaintiff, John Doe ("Plaintiff").

         2.      I submit this declaration in support of Plaintiff’s Lx Parte Motion for Leave to

 File Complaint as Pseudonymous Plaintiff.

         3.       In the instant action, Plaintiff seeks redress against Defendant Washington and

 Lee University ("Defendant W&L" or "W&L") due to the actions, omissions, errors, and the

 flawed procedures, and/or negligence and overall failure to provide Plaintiff with an expected

 standard of due process concerning the wrongful allegations of sexual misconduct made against

 John Doe, a male, a motivated and accomplished student at W&L with an otherwise unblemished

 record. The unfounded allegations were made by fellow W&L student, Jane Doe, a sophomore

 student at the time.




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         4.       Defendant W&L held a hearing on November 20, 2014 ("Hearing") and found

 John Doe responsible for "sexual misconduct" in the early morning of February 8, 2014 for

 engaging in sexual intercourse Jane Doe ("Decision"). As John Doe’s sanction, W&L expelled

 him ("Sanction")

         5.     In this case, John Doe, who was intoxicated himself, was punished for having

 consensual sexual intercourse with a woman who, on her own accord, was intoxicated but "not

 incapacitated," initiated the sexual intercourse by initiating the "making out," removed her

 clothes, and had sexual intercourse with him. At least three witnesses observed Jane Doe in the

 hours, next day and month after the incident and stated that "nothing indicated [] that anything

 strange had occurred between them," Jane Doe "didn’t insinuate that anything was wrong and

 she made it seem as if it was consensual" and said she had a "good time last night," and "there

 never seemed to be anything wrong." One month following the incident, Jane Doe sent an upbeat

 Facebook message to John Doe and also engaged in consensual sexual intercourse          again with

 John Doe. Any other evidence introduced at the Hearing to support Jane Doe’s narrative that she

 purportedly realized seven (7) months later that she did not engage in consensual sex on

 February 8 was improper since (i) it contradicted John Doe’s account and other witness

 statements to the contrary; and (ii) did not appropriately relate to a finding of "consent" under

 W&L’s policies. In finding John Doe culpable of sexual misconduct, W&L afforded preferential

 treatment to Jane Doe’s evidence on the basis of her female gender and engaged in sex

 discrimination against John Doe in violation of W&L’s policies

        6.      During Plaintiff’s disciplinary process, W&L’s wrongful actions include the

 following: (i) the lack of evidence that Jane Doe was unable to consent by reason of alcohol-

 induced incapacitation was so substantial that even   charging John Doe with sexual misconduct
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 was improper; (ii) W&L failed to provide hearing materials to John Doe with adequate time to

 prepare his defense; (iii) W&L developed the record of evidence inequitably by affording Jane

 Doe’s evidence more latitude than that from Joim Doe; (iv) W&L neglected its obligations to

 provide a trained and competent panel to handle cases of alleged sexual assault and/or allegations

 of alcohol-induced incapacitation; (v) W&L knowingly employed a panel member with a clear

 potential conflict of interest; (vi) the Committee Chair dismissed evidence undercutting the

 credibility of Jane Doe’s claims, and refused to allow cross-examination to that end; (vii) the

 Committee considered materially prejudicial evidence that was irrelevant to the charges against

 John Doe, which distracted and confused the Committee’s decision-making; (viii) the

 Committee’s decision failed to set forth a detailed factual finding for its determination that John

 Doe was responsible for sexual misconduct, which deprived him of a meaningful right of appeal;

 (ix) given John Doe’s written statement and supporting witness statements, W&L failed to

 investigate the likelihood that Jane Doe had committed sexual misconduct while John Doe was

 in an alcohol/drug-induced incapacitation, despite its affirmative obligation to respond to all

 information pertaining to potential instances of sexual misconduct.

          7.    In W&L finding that Plaintiff was guilty of sexual misconduct, Plaintiff was

 deprived of the most basic due process and equal protection rights and was discriminated against

 on the basis of his male sex.

          8.    Plaintiff’s education and future career have been severely damaged. Without

 appropriate redress, the unfair outcome of the Hearing will continue to cause irreversible

 damages to John Doe’s educational career and future employment prospects, with no end in

 sight.


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        9.      In light of these facts, Plaintiff should be permitted to protect his identity by filing

 the Complaint under a pseudonym.

        WHEREFORE, the Court should grant Plaintiff’s application in its entirety, and should

 order such further and other relief as the Court deems just and pjper.

        I declare under the penalty of perjury that the fore oing is)true and correct, pursuant to

 Title 28, United States Code, Section 1746.
                                                             /
 Dated: December 9, 2014
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